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                                                                                          FILED            LODGED
                                                     Return
Case No.:    22-07256MB
                                                                                        Jun 28 2022
                                                                                          CLERK U.S. DISTRICT COURT
                                                                                             DISTRICT OF ARIZONA

DATE WARRANT                   DATE AND TIME                      COPY OF WARRANT AND RECEIPT FOR
RECEIVED                       WARRANT EXECUTED                   ITEMS LEFT WITH



                               5jitho7.t(ym                                                                           t.
INVENTORY MADE IN THE PRESENCE OF




  -i-

INVENTORY OF PROPERTY SEIZED PURSUANT TO THE WARRANT


—j__                                             {/VA I-Jiear coo^e-




                                                Certification


  I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to
the designated Judge.



  Date:
          44Vll.                                                   executing Officer's Signature



                                                                   Printed Name and Title
